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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


THE MAYA GROUP, INC.,

        Plaintiff,                                        Case No.: 1:19-cv-04690

v.                                                        Judge Robert M. Dow, Jr.

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE
“A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 29                                        恒达
                 36                                 香榭商贸有限公司
                 81                                 youyuantoycompany
                 46                                        yago
                 66                                      flytosky
                  70                                        ligoo
                 142                                   dingdingjiazu
                 156                                   steranimestore
                  77                                     shaobinbin
                 166                                    smallspringx
                  35                            深圳市一佼者贸易有限公司
                 113                                ananzher
                 115                                 ainisa
                 130                                      trancey45
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            133                                thousandspl
            136                                  aslonger
            139                                   styleon
             71                               grocerystore5
             47                                   ross8
            112                                  tanmit
             6                                 ZTW Group


DATED: October 21, 2019              Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 21, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
